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                         Exhibit A
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                              CERTIFICATION PURSUANT TO
                            THE FEDERAL SECURITIES LAWS

        I, David Cetlinski, on behalf of the Police and Fire Retirement System of the City of
Detroit ("PFRS"), hereby certify as to the claims asserted under the federal securities laws, that:

     I serve as the Assistant Executive Director of PFRS. In that capacity, I am authorized to
     make this certification on behalf of PFRS.

     I have reviewed class action complaints filed in this matter against, inter alia, CenturyLink,
     Inc. ("CenturyLink"). PFRS has authorized counsel to file this motion for appointment as
     lead plaintiff and to pursue the claims that are asserted in the complaints. PFRS retains
     Kirby McInerney LLP, and such co-counsel as it deems appropriate to associate with, to
     pursue such action on a contingent fee basis.

     PFRS did not purchase the securities that are the subject of this action at the direction of
     counsel or in order to participate in any action arising under the federal securities laws.

     PFRS is willing to serve as a representative party on behalf of the Class, including
     providing testimony at deposition and trial, if necessary.

     PFRS' transactions in the CenturyLink securities that are the subject of this action are set
     forth in the chart attached hereto.

     The only private actions under the Securities Act of 1933 or the Securities Exchange Act of
     1934 filed during the last three years in which PFRS has sought to serve as a lead plaintiff
     or a representative party on behalf of a class are:

         City of Birmingham Firemen's and Policemen's Supplemental Pension System v. Plains
         All American Pipeline, L.P., No. 4:15-cv-02404 (S.D. Tex.) (moved to be appointed as
         lead plaintiff, was not appointed, but remains in the action as a named plaintiff)

         Beisel v. La Quinta Holdings Inc. et al., No. 1:16-cv-3068 (S.D.N.Y.) (appointed and
         serving as lead plaintiff)

     PFRS will not accept any payment for serving as a representative party on behalf of the
     Class beyond PFRS' pro rata share of any recovery, except such reasonable costs and
     expenses (including lost wages) directly relating to the representation of the Class, as
     ordered or approved by the Court.
                                                                                               J~L
     I declare under penalty of perjury that the foregoing is true and correct. Ex 'ute this
     day of August, 2017.


                                              I )avid Cethnski
                                              Assistant Executive Director
                                              Police and Fire Retirement System of the City of
                                              Detroit
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                                    SCHEDULE A

Transactions of Detroit PFRS in Centuryl-ink, Inc. during the period 03/01/13 - 06/19/17.

    Date                Purchase/Sale        Number of Shares           Price per Share


        3/19/2013     Sale                              -1,850.00                     $34.26

        4/17/2013     Purchase                               100                      $36.59

        6/28/2013     Purchase                          2,300.00                      $35.35

           7/1/2013 Purchase                            3,851.00                      $35.17

           7/2/2013   Purchase                           1,249.00                     $35.46

           7/2/2013   Purchase                           2,128.00                     $35.28

           7/3/2013   Purchase                                792                     $35.16

           7/5/2013   Purchase                                670                     $35.10

           7/8/2013   Purchase                           2,086.00                     $35.36

           7/9/2013   Purchase                                562                     $35.39

        7/10/2013     Purchase                                632                     $35.46

        7/22/2013     Purchase                                100                     $35.87

           2/6/2014   Purchase                                150                     $28.10

        2/14/2014     Sale                             -11,970.00                     $30.80

           4/4/2014   Sale                                   -500                     $33.71

        4/23/2014     Sale                                   -300                     $34.44

        6/27/2014     Purchase                                100                     $35.78

        7/28/2014     Purchase                          10,200.00                     $37.77

        8/21/2014     Sale                                   -100                     $41.08

        9/23/2014     Sale                                   -550                     $40.81

        12/1/2014     Purchase                          22,140.00                     $41.27
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     12/23/2014 Sale                          -100                $40.50

       3/6/2015 Purchase                  4,800.00                $35.76

      3/20/2015 Purchase                  1,600.00                $35.04

       4/1/2015 Purchase                       650                $35.54

      6/26/2015   Sale                        -100                $29.99

      6/26/2015   Sale                         -60                $29.99

      6/30/2015   Sale                   -26,940.00               $29.52

      7/28/2015 Purchase                       200                $28.36

      7/30/2015 Purchase                       350                $27.96

     10/23/2015   Sale                        -800                $28.04

      12/2/2015   Purchase               19,874.00                $26.73

      12/8/2015   Sale                    -1,000.00               $26.84

      12/8/2015   Sale                    -1,000.00               $26.83

      12/9/2015   Sale                    -1,823.00               $26.38

     12/22/2015   Sale                   -10,900.00               $24.93

       3/l/2016 Sale                          -200                $30.99

       3/8/2016   Sale                        -250                $31.51

      4/28/2016   Purchase                2,000.00                $31.52

      5/24/2016   Sale                        -200                $27.20

       8/8/2016   Sale                    -1,105.00               $30.28

      9/12/2016   Purchase               12,200.00                $27.60

      9/19/2016   Purchase                     942                $27.09

     11/23/2016   Sale                   -18,051.00               $24.51
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     12/15/2016   Sale                   -5,200.00                $23.79

      4/24/2017   Sale                   -1,196.00                $25,45
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